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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                                    Criminal No. 19-cr-18-ABJ

 ROGER J. STONE, JR.,

                                 Defendant.


                    GOVERNMENT’S SECOND UNOPPOSED MOTION
                        FOR EXTENSION OF TIME TO FILE

       The United States of America, by and through Jessie Liu, United States Attorney for the

District of Columbia, respectfully requests that this Court again extend the deadline for filing one

motion in limine. The government and counsel for defendant Roger J. Stone, Jr., continue to

negotiate a stipulation to the admissibility of the transcript of Stone’s testimony before the House

Permanent Select Committee on Intelligence. Defense counsel has agreed to stipulate to the

transcript if the government can obtain a copy of the audio recording. The government is currently

working with the House on various issues related to production of the audio recording. The

government hopes to have these issues resolved within four weeks.

       The government therefore respectfully requests that the Court permit the government to

file its motion on this issue four weeks beyond the August 23, 2019 deadline for motions set forth

Court’s July 29, 2019, Order. Defense counsel has authorized the government to advise the Court

that the defense does not oppose this request.

                                                     Respectfully submitted,

                                                     JESSIE K. LIU
                                                     U.S. Attorney for the District of Columbia
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                                          By:    /s/
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August 21, 2019




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.                                   Criminal No. 19-cr-18-ABJ

 ROGER J. STONE, JR.,

                                 Defendant.



                                              ORDER
       This matter having come before the Court on the Government’s Second Unopposed

Motion for Extension of Time to File, and for good cause shown, it is

       On this __________ day of ___________, 2019, hereby:

       ORDERED that the Government’s motion is GRANTED and the government may file a

motion in limine to admit the transcript of the defendant’s testimony before the House Permanent

Select Committee on Intelligence on or before September 20, 2019. The defendant’s opposition

to this motion shall be due on or before October 4, 2019, and the government’s reply shall be due

on or before October 11, 2019.




                                              _____________________________________
                                              HON. AMY BERMAN JACKSON
                                              UNITED STATES DISTRICT JUDGE
